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IN THE UNITED STATES DIS'I`RICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN I)IVISION

LABORERS’ PENSION FUNI} and )
LABORERS’ WELFARE FUND OF THE )
HEALTH AND WELFARE DEPARTMENT )
OF THE CONSTRUCTION AND GENERAL )
LABORERS’ DISTRICT COUNCIL OF ) '
CHICAGO AND VICINITY, and JAMES S. )
JORGENSEN, Administrator of the Funds, )
)
Piaintiffs, )
)
v. ) Case No.
)
CREATIVE DESIGN CONSTRUCTION , INC. )
)
Defendant. )
COMPLAINT

Plaintiffs Laborers’ Pension Fund and Laborers’ Welfare Fund of the Health and Welfare
Department of the Construction and General Laborers’ Distriet Couneil of Chicago and Vieinity (the
“Funds”j, and plaintiff Jarnes S. lorgensen (“Jorgensen”), Administrator of the Funds, by their

undersigned attorneys, and for their Cornplaint against Defendant Creative Desi gn Construotion, Inc.,

as follows:
COUNT I
(F ailure To Pay Elnployee` Benefit Contributions)
l. Jurisdiction is based on Sections 502(e)(l) and (2) of the Employee Retirernent

Income Secur`ity Aet of 1974 (“ERISA”), as amended, 29 U.S.C. § 1 l32(e)(1) and (2); Section 301(a)
of the Labor Management Relations Act (“LMRA”) of 1947 as amended, 29 U.S.C. §185(a); and
28 U.S.C. §1331. _- l

2. Venue is proper pursuant to Section 502(€)(2) of ERISA, 29 U.S.C. §l l32(e)(2), and
28 U.S.C. §1391(a) and (b).

_ 3. The Funds are multiemployer benefit plans Within the meaning of Sections 3(3) and
3(37) of ERISA. 29 U.S.C. §1002(3) and 37(A). The Funds have offices, conduct business and
administer the plans Within this District. Jorgensen is the Administrator of the Funds, and has been
duly authorized by the Funds’ Trustees to acton behalf of the Funds in the collection of employer

contributions owed to the Funds and to the Construction and General Laborers’ District Council of

 

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Chicago and Vicinity Training Fund, and with respect to the collection by the Funds of amounts
which have been or are required to be withheld from the wages of employees in payment of Union
dues for transmittal to the Construction and General Laborers’ District Council of Chicago (the
“Union”). With respect to such matters, Jorgensen is a fiduciary of the Funds within the meaning
of Section 3(21)(A) of ERISA, 29 U.S.C. § lOO2(2l)(A).

4, Defen_dant Creative Design Construction, lnc. (hereinafter “the Cornpany”), is a
corporation in good standing according to the lllinois Secretary of State. The Company does
business within this District and is an Employer within the meaning of Section 3(5) of ERISA, 29
U.S.C. §1002(5), and Section 301(a) ofLMRA, 29 U.S.C. §l$$(a).

5. The Union is a labor organization within the meaning of 29 U.S.C. §185(a). The
Union and the Company are parties to a collective bargaining agreement (“Agreement”). (A copy
of the “short form” Agreement entered into between the Union and the Comp`any, which Agreernent
adopts and incorporates a Master'Agreernent between the Union and various employer associations,

and also binds the Company to the Funds’ respective Ag_reements and Declarations of Trust, is

attached hereto as Exhibit A.)
6. ` The Funds have been duly authorized by the Construction and General Laborers’

District Council of Chicago and Vicinity Training Fund (the “Training Fund”), the Midwest
Construction Industry Advancement Fund (“MCIAF”), the Chicagoland Construction Safety Council
(the Safety Fund”), the Laborers’ Employers’ Cooperation & Education Trust (“LECET”), the
Contractors’ Association of Will and Grundy Counties (the “Will County Fund”), the Concrete
Contractors’ Association of Greater Chicago (“CCA”), and the CDCNl/CAWCC Conttractors’
Industry Advancement Fund (the “Wall & Ceiling Fund”), to act as an agent in the collection of
contributions due to those funds.-

7. The Agreement obligates the Company to make contributions on behalf of its
employees covered by the Agreement for pension benefits, health and welfare beneti`ts, for the
training fund and to submit monthly remittance reports in which the Company, inter alia, identifies

the employees covered under the Agreement and the amount of contributions to the Funds remitted

 

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on behalf of each covered employee

8. The Agreement further obligates the 'Company to procure, carry and maintain a surety
bond to guarantee payment of wages, Pension and Welfare contributions f`or the duration of the
Agreement.

9. Notwithstanding the obligations imposed by the Agreernent, the Company has:

(a) failed to report contributions owed to plaintiff Laborers ’ Pension Fund from February
201 1 to the present, and failed to pay contributions to said Fund from February 201 1 to the present,
thereby depriving the Laborers’ Pension Fund of contributions, income and information needed to
administer the Fund and jeopardizing the pension benefits of the participants and beneficiaries; and

(b) failed to report all contributions owed-to Plaintiff Welfare Fund of the Health and
Welfare Department of the Construction and General Laborers’ District Council of Chicago and
Vicinity from February 2011 to the present, and the pay contributions due to said Fund from
February 2011 to the present, thereby depriving the Welfare Fund of contributions, income and
information needed to administer the Fund and jeopardizing the health and welfare benefits of the
participants and beneficiaries; and

(c) failed to report and pay all contributions owed to Laborers’ Training Fund from
February 2011 to the present, thereby depriving the Laborers’ Training Fund of contributions,
income and information needed to administer the Fund and jeopardizing the training fund benefits
of the participants and beneficiaries

(d) failed to maintain a surety bond to guarantee the payment of wages, Pension and
Welfare contributions l -

(e) failed to pay past due penalties in excess of`$500.00.

10. Despite demand duly made, the Company has not paid the required contributions or
other sums due.

11. All conditions precedent to requiring contributions and reports to the Funds have
been met.

12. The Cornpany’s actions in failing to make timely reports and contributions violate

Section 515 ofERISA, 29 U.S.C. §1145, and Section 301 ofthe LMRA. 29 U.S.C. §185.

 

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13. Pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. § 1 132(g)(2), and the terms of the
Funds’ Trust Agreements, the Company is liable to the Funds for unpaid contributions and related
amounts, as well as interest and liquidated damages on the unpaid contributions, reasonable
attorneys’ fees and costs, and such other legal and equitable relief as the Court deems appropriate

WHEREFORE, Plaintiffs respectfully request this Court enter a judgment against Defendant
Creative Design Construction, Inc., for the amounts of contributions owed to date together with all
accrued delinquencies after suit, interest, liquidated damages, attorneys’ fees and costs, directing the
Company to obtain and maintain a surety bond to guarantee payment of wages, Pension and Welfare
contributions as required by the Agreement, and an order directing Defendant to timely submit
reports and upon demand by Plaintiffs submit to an'audit, and any other legal and equitable relief as
the Court deems appropriate

` COUNT n _
(Failure _To Pay Union Dues)

14. Plaintiff realleges paragraphs 1 through 9 of Count l.

1 5. Pursuant to the Agreement, the Funds have been duly designated to serve as collection
agents for the Union in that the Funds have been given the authority to collect from employers union
dues which have been deducted from the wages of covered employees

16. Notwithstanding the obligations imposed by the Agreement, the Company has failed
to withhold and/or to report to and forward the union dues deducted or the Union dues that should
have been deducted from the wages of employees for the period from February 201 1 to the present,
thereby depriving the Union of income _

17. Pursuant to the Agreement, the Company is liable to the Fund for the unpaid union
dues, as well as reasonable attorneys’ fees, as the Union’s collection agent, and costs, and such otherl
legal and equitable relief as the Court deems appropriate

18. 7 The Company’s actions have violated and are violating Section 301(a) of the Ll\/IRA,
29 U.S.C. § 185(a).

WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment against
Defendant, Creative Design Construction, lnc., for the amount of the union dues owed to date

together with all attorneys’ fees and costs, and any other legal and equitable relief as the Court deems

 

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appropriate

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l\/lay 24, 2011

ti'ttorneys for lllaintiff

 

 

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CONSTRUCT!ON & GENERAL LABORERS'
DlSTRlCT COUNCiL OF CH|CAGO AND VICINITY

AFFIl_lAT£D WITH THE LABORERS' INTERNATIONAL UNION Ol= NORTH AMERlCA
999 McCLlNrOCKVDRl\/E - SUlTE 300 - BURR RrDGE, lL 6052;: - PHONE: confess-baca - FAx: 630/assume

 

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lNDEPENDENT CONSTRUCT!ON iNDUSTRY COLLECT|VE BARGA[NING AGREEMENT

, 4, 5. 6. 25, 75. ?S, 36. 118, i49. 152, 225. 269, 258. 582, 581. 1001. 1035, 1092, together with any other l_ocal Unlons that may come within irs
ps”), and encompassing fhe geographic areas of Cook, Lakel DuPage. Wil|. Bruruty. Kendall. Kane. Nlcl-lenry and Booce cnuntles. lillnor`s, that
f. Recognilion. lrr response fo lhe Union's request for recognition as the majority or Secfiorr gle) representative of the unit employees. the Employer recognizes the l.lnion

as the sole and exclusive collective bargaining representative under~_Seclioo u(a] of the |lll_llA, as amended, for the employees now and hereinafter employed under fhelerms of ‘

this Agreemen§ with respect_to wages, hours and other terms and conditions of employment This recognjuon'is based on_fhe_ Union‘s having shown, or haviog_oflered to sbow,
evidence of fla majority support The Employer has not assigned its rights for purposes of collective bargaining with lhe U_rrion_ to any parson, entity or associationl ahd hereby
revokes its prior assignment of bargaining rigbl_s, ll'any_ The'Emplcye_r.funhe_ri_rolun_tartl

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§`"MM§U%NMW??H%WHM%WWM}HMre:ihiiirii;iii']'fheterm of any extension hereof_

2. Labor Contracl. The §mployer affirms and adopts the applicable Colleclive Bargaining Agreement(sl, as designated by_fl'le llnioo, between the llnion and the Buildels
Assoclalloo, the Cllicago Area lndependerll Conslruclion Assoclafion, fhe Chlcago Area f-lal| Cpolractcrs Associalion, the Chicago Area Scaffcldlpg Assoclarlon. the llhlcago
Demolltion Cootrsclors' Associafioh, the Concrele Contractors Associatlon of Greafer Bhicago. the Coufracfors Associaficn of Witl and Erundy Counb'es, the Fox llalley Associated
Geperal Cootractors. the Midw`est Wall and Ceiling Confraclors, the illinois Envlronmenlal Confractors Assoclaflon, me l|linois Rnad and Transportab'nn Bullders Assoclallon, the
lllinofs Small Pavers Assoclatioc. the Lalre Coumy Contractors Associalion, the Mason Cemmcfors Assoclation ol Greater L‘hlcago. the Underground Eonlraclors Assuclalion, and
all other employer associations wllh' whom the Unlon or ils affiliated Local Uofons have an agreement ll the applicable Collecllve'Bargaining Agreemepl(s] expire during the term
of this Agreemenl, any limitation on the right to strike shall also expire until a successor labor agreement has been established which shall be incorporated retroactively hereln_
Thls Agreement supersedes all contrary terms in the applicable Collecflve Bargainlng Agreemem(s).

3. 'lotal economic increase The Employer shall pay its employees a total economic increase of 51_75 per hour effective June 1. Zulu; $1.80 per hour effective .lune 1l
2011; and $1.85 per hour effective Juno 1_ 2012, said amounts to be allocated between wages, hinge benehts and other funds by lhe lloion irl hs sole discretion Effecllve .lul'le l.
2010. the minimum wage rale shall be $35.20 per hour. _

4. Checkoh' Deductiorls and Flemll'farlces. The Ernployer shall deduct from the wages of employees uniform inltlallon fees, assessments membership oues_ and working
dues in such amounts as the Uuion shall from lime to time establish1 and shall remit monlhly lo lhe designated union office the sums so deducted together with ap accurate list
showing the employees from whom dues were deducted the employees' individual hours, gross wages arrd deducted dues amounts for lhe monthly perlod, not laterthan the tenth
lll]lh) day of the monlh following the month for which said deductions were made lf The Ernployerfails to timely remit any amounts to lhe Unlon or its affiliated hinge benefit
funds that are required under this Agreemenf. lt shall be obligated to the Unloc for all costs of collectionl including attorney lees_

The Ernployer shall furlher deduct an amount designated by the Unlon for each hour that an employee receives wages under the terms of this Agreemenf on the basis of
individually signed voluntary authorized deduction forms and shall pay over the amount so deducted lo the Laborers' Polltlcal League ("LPL") or to a designated appolnlee, not
later than the fufh day of the month next following lhe month fur which such deductions were made l_i-'L remittances shall include a report of the hours worked by each Laborer
for whom deductions are made_ Flemirlaaces shall be made by a separate check payable to the Laborers’ Poliilca| League. The Employer shall be paid a processing lee each month
from the total amounl to be transmitted to the LFL to be calculated al lhe |lllnois Departmem of Reveo:.re standard

5, Worlr .lurisdlcllon. Thls Agreemenl covers all work within the applicable Collective Bargalning Agreemeols and all work within the Unlon's trade and geograpnlc juris-
diction as set forlh fn the Unioo’s Sfafernenf of Ju:isdlclion, as amended from lime lo lime. which are incorporated by reference into this Agreemenl_ The Employer shall assign all
work described therein to irs Uniorr-represeoted taborer employees and acknowledges the appropriateness cl such assignment Neilher the Employer nor ils work assignments as
required under this hgreemem shall be stipulated or otherwise subject lo adjustment by any jurisdictional disputes board or mechanism except upon written notice by and direc-
tion of the Unloo_ ,

6. Subcorltracllng. The Emp|oyer. whether acting as a crinlraclpr, general manager or developer shall not contract or subcontract any covered work lo he done al the site
ofeonsh'uction. alteration, painting or repair of a building structure or ofherwork fo any person, corporation or entity not signatory to and covered bya collective bargaining agree-
merit with the Un`ron. Thls obligation applies lo all tiers of subcontractors performing work al lhe she of construction The Emplnyer shall further assume the obligations of all berg
of its subcontractors for prompt payment of employeesl wages and other benefits required under this Agreemem, including reasonable arsomeys' fees incurred in enforcing the
provisions hereol_

7_ Fringc Eerlefils_ The Employer agrees to pay the amounts lhat if is bound lo pay under said Eoller:live Bergairn'ng Agreemems lo the Health and Wellare Departmenl of
fha Conslroction and General laborers Disfrlcl Council of Chicago and Viciniry, the Laborers’ Pension Fund (includlng Laborers' Excess Benefll Foods). the Fox Va|ley benefit
Furlds, the Construcflon and Eeneral Laborefs' Disrricf Council cf Chlcago and \.'icln'rfy Apprentice and Trainlng trust Fund, rhe L`hicagc Area Laborers-Employers Cooperatlon
Educalion Trusl, the LDE/LMCC_ audio all other designated Union~alfllfafed benefit and labor~managemenl funds (the “Funds"), and to become bound by and be considered a party
fo the agreemenn and dec|afallons of trust creating the Funos as il lt had signed the original copies of the trust instruments and amendments lherelo_ The Employer further affirms
that ali prior conlribuu'uns paid lo the Wellare, Pension, `lralolrrg and other Funds were made by duly authorized agents cl the Employer al all proper rates and evidence lhe
Employcr's intenl to be bound by the trust agreements and Collectlve Bargalning Agreernents lo effect when lhe contributions were mede, acknowledging the report form lo be a
sufhcfenr instrument in writing lo bind the Emp|oyer lo the applicable collective bargaining agreements

B_ Conlracf Enlorcemem_ A|| grievances filed by either party arising hereunder sha||. al me Unlorl’s discretion be submitted to the Chicago Dlslrfcf Council Erlevance
Comminee for final and binding disposition in lieu of another grievance committee provided that deadlocked gn'evances shall be submitted to final and binding arbitration upon
timely demand Shoufd the Fmployer fail lo comply within len {10) days with any binding grievance award, whether by grievance committee or arbitration it shall be liable for all
costs and legal fees incurred oylhe Union fo enforce tne award Nofwllnslandlrlg anything lb the conirary, nothing heroin shall limit the Union’s right to strike or withdraw its mem-
bers because of non-payment of wages and/or fringe benefit conlril)ulions, failure by the Emp|oyer to timely remit dues lo the Union, or non-compliance wilh a binding grievance
award The Employer's violation of any provision of this paragraph will give the Llnlon the right fo take any other legal and economic acrlon. including bul not limited to all reme-
dies at law or equity. lt ls expressly understood and agreed fhal lhe Ubioh`s right to take economic action is in addition to_ and not ln lieu ol. its rights under the grievance proce-
dures. Where necessary to correct contract vlolatlol'ls, or where no acceplable steward is currently employed the Union may appoint and place a steward from outside the wollr-
force at all job sifes_

9. Successors_ ln the everll of any change in the ov.'hershipl management or operaliorr of the Employer‘s business or substantially all of its assels. by sale or otherwise it
ls agreed that as a condition cf such sale or transfer that the new owner or manager whether corporate or lnoivlduaf, shall be fully bound by the terms and conditions of this
Agreemem_ The Employer shall provide no less than len [ltl) days’ prior written notice to the union of the sale or transfer and shall be obligated for all expenses incurred by the
tlnlon fo enforce fhe terms of this paragraph

10. lermlnation. Thls Agreernent shall remain irl full force and effect lrcm luce 1. 2010 [unless dated dilferenlly below) through May 3!, 20‘l3, and shall conlirlue there-
after unless there has been given written nollce, by cerlllied mail by either party herelo, received no less lhan sixty (Gu) nor more than ninety lell] days prior to the expiration date,
ol the desire to modify or amend this Agreemenf through negotiations ln the absence of such timely and proper notice the Employer and the Union agree fo be bound by the new
applicable association agreemenl(s), incorporating them into this Agreemenf and extending this Agrcemenl lor the life of lhe newly negotiated agreements and thereafter for lhe
duration ol successive agreements unless and until timely notice of termination is given riot less than sixty {ED) nor more than ninety lSO) days prior lo the expiration of each suc-
cessive Collecffve Bargainlng Agreement_

1`l. Executfoo_ the signatory below warrants his or tier receipt of fhc applicable Colleclive Bargaining Agreemem(s} and authorization from lhe Emp|cyer to execute this
Agreemenr without fraud or ouress_ and with full knowledge of the obligations and undertakings contained herein. The parties acknowledge and accept facsimile signalures on this

Agreemenl as il they were the original sighalures
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LH{L( trw No_: 26 ‘5/\{"~! l'Y/l /

Laborers' Local llnion No_

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